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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ELLIOT SINGER, RACHEL SINGER and          )
DANIEL SINGER,                            )
                    Plaintiffs,           )
         v.                               )
PRIMESOURCE HEALTH GROUP, LLC,            )
SENIORSURE HEALTH PLANS, INC.,            )
ADVANTAGE CAPITAL HOLDINGS, LLC,          )           Case No. 17 CV 2127
PRIMEHEALTH GROUP, LLC, and DAVID         )
FLEMING,                                  )
                   Defendants.            )           Hon. Steven C. Seeger
_______________________________________   )
                                          )
DAVID FLEMING,                            )
                        Cross-Plaintiff,  )
            v.                            )
ADVANTAGE CAPITAL HOLDINGS, LLC,          )
PRIMEHEALTH GROUP, LLC, KENNETH           )
KING and ANNIE ELLIOTT,                   )
                                          )
                        Cross-Defendants. )
_______________________________________ )
                                          )
PRIMESOURCE HEALTH GROUP, LLC, a          )
Delaware limited liability company,       )
PRIMESOURCE OF MICHIGAN, LLC, a           )
Delaware limited liability company, LINK  )
SOURCE SYSTEMS, INC., an Illinois         )
corporation, and PRIMESOURCE HEALTH       )
CARE SYSTEMS, INC., an Indiana            )
corporation,                              )
                                          )
                        Cross-Plaintiffs, )
             v.                           )
PRIMEHEALTH GROUP, LLC, an Illinois       )
limited liability company,                )
                                          )
                        Cross-Defendant.  )

           STIPULATION TO DISMISS PURSUANT TO FRCP 41(A)(1)(A)(ii)

       It is stipulated and agreed to between the undersigned that pursuant to FRCP
41(a)(1)(A)(ii):
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   1. All claims in the above captioned case are dismissed with prejudice, including, but not
      limited, to the following:

          a. All remaining claims by David Fleming are dismissed with prejudice;

          b. All remaining cross-claims by PrimeSource Health Group, LLC, PrimeSource
             Healthcare Systems, Inc., PrimeSource of Michigan, LLC, and LinkSource
             Systems, Inc. are dismissed with prejudice;

          c. All remaining counter-claims of Advantage Capital Holdings, LLC’s and
             PrimeHealth Group, LLC’s are dismissed with prejudice.

          d. All claims involving SeniorSure Health Plans, Inc. are dismissed with prejudice.

   2. The claims of Elliot Singer, Rachel Singer and Daniel Singer were previously dismissed
      with prejudice (Dkt. ##100 and 128).

   3. The    claims   against   Annie    Elliott       were   previously   dismissed   (Dkt.   #225).

   4. The claims involving SeniorSure Health Plans, Inc. were stayed (Dkt. #148).

   5. With the dismissal of the above claims, no further claims remain in the case.

   6. All Parties agree to bear their own costs and attorneys’ fees.

STIPULATED BY:


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                                                       Daniel Singer

/s/Thadford A. Felton                                  /s/Jill Gettman___________
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PrimeSource Healthcare Systems, Inc.,               Advantage Capital Holdings, LLC, Kenneth
PrimeSource of Michigan, LLC, and                   King and Annie Elliott
LinkSource Systems, Inc.

/s/Alan Francis Curley_________
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Health Plans, Inc.




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